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NOT FOR PUBLICATION


                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


    UNITED STATES OF AMERICA
                                                          Criminal Action No. 91-56 (MAS)
                        v.
                                                           MEMORANDUM OPINION
    RONALD PARRISH


SHIPP, District Judge

        This matter comes before the Court on pro se Defendant Ronald Parrish              Parrish

Request for Early Termination of Supervised Release. (ECF No. 1.)1 The United States of America

       Government    opposed (ECF No. 5), and Parrish did not file a reply. The Court has carefully

                                                                            argument under Local

Civil Rule 78.1(b), which is applicable to criminal cases under Local Criminal Rule 1.1. For the

reasons set forth below, the Court denies Parrish    Motion for Early Termination of Supervised

Release.

I.      BACKGROUND

        On March 28, 1991, a federal jury found Parrish guilty of conspiracy to commit bank

robbery in violation of 18 U.S.C. § 371                and bank robbery in violation of 18 U.S.C.

§§ 2113(a) and (d)                 . The United States Probation Office        Probation

determined that Parrish was a career offender based on his prior convictions, (PSR ¶ 41), including

a prior armed robbery conviction, and the Court sentenced Parrish to concurrent sentences of 60



1
 This case was reassigned to the undersigned on June 2, 2021. (See ECF No. 2.) The Hon. Garrett
E. Brown, Jr. presided over the trial and sentencing.
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                         for                                                for Count Two. As relevant

here, the Court also sentenced Parrish to five years of supervised release and ordered him to pay

$19,000 in restitution. The Third Circuit affirmed Parrish                      . See United States v.

Parrish, 27 F.3d 560 (3d Cir. 1994) (mem.).

          Parrish completed his term of imprisonment on August 23, 2019, serving over 28 years for

the 1991 robbery. Today he resides in Georgia under the supervision of the Probation Office for

the District of South Carolina. (Gov              Br. 3, ECF No. 5.) Parrish is slightly more than two

years into his five-year term of supervised release.                                    The Probation

Office reports to the Court that Parrish is partially disabled and currently unemployed but is

otherwise compliant with the terms of his supervised release (apart from making monthly

restitution payments).

          On May 28, 2021, Parrish submitted correspondence to the Court

                               Id.)2 In his correspondence, Parrish noted

and has completed two of his five years of ordered supervised                                     Id.)

He

. . . in peace,                      Id.)

          Upon review of Parrish request for early termination, the Court ordered the Government

to file a response. (ECF No. 4.) On June 21, 2021, the Probation Office provided its

recommendation to the Court as to Parrish                    The Government filed its opposition to

Parrish            on June 28, 2021. (ECF No. 5.) In opposing Parrish                     Government


2
  The Court interprets Parrish reference to parole as referring to the five years of supervised
release imposed by the sentencing Court in 1993. (See ECF No. 4.)

                                                    2
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argues that the nature of his offenses, his criminal history, Parrish present circumstances, and the

interests of justice weigh strongly against granting early termination of his supervised release.

(Gov            Br. 3-6.)

II.     LEGAL STANDARD

        The Court may terminate a term of supervised release before its expiration under 18 U.S.C.

§ 3583(e). In relevant part, the statute reads as follows:

               The court may, after considering the factors set forth in section
               3553(a)(1), (a)(2)(B), (a)(2)(C), (a)(2)(D), (a)(4), (a)(5), (a)(6), and
               (a)(7)

                   (1) terminate a term of supervised release and discharge the
                       defendant released at any time after the expiration of one
                       year of supervised release, pursuant to the provisions of the
                       Federal Rules of Criminal Procedure relating to the
                       modification of probation, if it is satisfied that such action is
                       warranted by the conduct of the defendant released and the
                       interest of justice.

18 U.S.C. § 3583(e). As is routine in dealing                                                  , the

statute directs the Court to consider the 18 U.S.C. § 3553(a) factors.3 In deciding whether to

terminate supervision early, the Court has broad discretion under § 3583(e). See United States v.




3
  The § 3553(a) sentencing factors are (1) the nature and circumstances of the offense and the
defendant s history and characteristics; (2) the need for the sentence imposed to reflect the
seriousness of the offense, promote respect for the law, provide just punishment, afford adequate
deterrence to criminal conduct, protect the public from further crimes of the defendant, and provide
the defendant with needed educational or vocational training, medical care, or other correctional
treatment in the most effective manner; (3) the kinds of sentences available; (4) the kinds of
sentences and sentencing ranges established for the defendant crimes; (5) pertinent policy
statements issued by the United States Sentencing Commission; (6) the need to avoid unwarranted
sentence disparities among defendants with similar records who have been found guilty of similar
conduct; and (7) the need to provide restitution to any victims of the offense. 18 U.S.C. § 3553(a);
see also United States v. Davies, 746 F. App x 86, 89 (3d Cir. 2018).

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Melvin, 978 F.3d 49, 52 (3d Cir. 2020) ( The expansive phrases



                                                                             (quoting United States v.

Emmett, 749 F.3d 817, 819 (9th Cir. 2014))).

        After considering the § 3553(a) factors and present circumstances of a defendant, district

courts may grant early termination only if satisfied that it is

and is in the interest of justice. Melvin, 978 F.3d at 52. District courts need not make express

findings for each § 3553(a) factor;                                   district court] has considered the

                                      Id. at 53 (alteration in original) (quoting United States v.

Gammarano, 321 F.3d 311, 315 (2d Cir. 2003)). Further, as the Third Circuit clarified, the Court

need not find an exceptional or extraordinary circumstance to grant early termination. Id. Nor is it

a requirement that the defendant present a new or unforeseen occurrence that arose since the

original sentencing. Id.

early termination of a term of supervised release, but

Id.

        Generally, however,                                                                            ,

                                                                  it follows that early termination of

supervision should be prompted by a                                              Davies, 746 F. App x

at 89. Conversely,                    routine compliance with the terms of supervision, although

                                                          a d              United States v. Stiso, No.

14-484, 2021 WL 1291648, at *3 (D.N.J. Apr. 6, 2021).




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III.     DISCUSSION

         Parrish appears to be doing well since being released from custody of the Bureau of Prisons

in August 2019. From what the Court can glean, Parrish has familial support, housing, hobbies,

and a religious community. (See Def.        Mot. 1.) Parrish requests that the Court grant him early

termination of supervised release a little less than halfway into the five-year term imposed by the

sentencing Court. (Id.) Parrish reasons that he should be released early because of his compliance

with the terms of his supervised release, rehabilitation, and desire to

. . . in peace              family. (Id.)

         The Government opposes early termination and urges the Court to deny Parrish motion.

It stresses that a holistic review of Parrish case illustrates the severe nature of his 1991 robbery,

his criminal history (including past violations of parole), the safety of the public, the need for

adequate deterrence, and a lack of any changes in circumstance for Parrish. (Gov                  Br.

4-5.) The Government also notes that Parrish has failed to make his required restitution payments

but acknowledges that he has attempted to do so on at least two occasions. (Id. at 6.)

         The Court concludes that early termination of supervised release is not warranted. First,

the Court finds that the § 3553(a) factors weigh against granting early termination. Parrish s

conduct during the 1991 robbery was severe and the impact on the victims lasting. At trial, the

Government proved that Parrish and a co-conspirator committed an armed robbery of Howard

Savings Bank in Newark, New Jersey. (PSR ¶¶ 1-2.) During the robbery, Parrish threatened to

shoot the occupants if they failed to lay on the ground and forced an unarmed guard to hand over

his cash by placing a handgun                            (Id. ¶¶ 11-12.) Parrish and his accomplice

stole more than $19,000 before fleeing the bank. (Id. ¶ 12.) While awaiting trial, the record reflects


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that Parrish threatened certain witnesses and made menacing comments towards the security guard

he held at gunpoint. (See id. ¶¶ 35-36; Gov           Br. 2.) When committing the robbery, Parrish

was on parole for a series of convictions related to an armed robbery that he committed in 1976.

(PSR ¶¶ 35-36.) Additionally, the Probation Office classified Parrish as a career offender based on

his prior convictions. A holistic review of the § 3553(a) factors thus weighs against granting early

termination.4

       Second, after considering the sentencing factors, § 3583(e) provides that district courts

                                                                                        defendant

                                          Melvin, 978 F.3d at 52 (citing 18 U.S.C. § 3583(e)(1)).

In asking for early termination, Parrish points to his positive conduct over the past two years and

lack of any incidents. (Def. Mot. 1.) The Court commends Parrish for complying with the terms

of his supervised release. That alone, however, falls short of warranting early termination. See

Stiso, 2021 WL 1291648, at *3

    efendant . . . provided no reason justifying early termination of supervised release other than

compliance with the conditions of his supervision .

       Finally, the interests of justice do not mandate early termination. Parrish    desire to live

                  with [his] family, although understandable, is insufficient to terminate his

supervision. (Def. Mot. 1.) Parrish does not elaborate as to how his supervision creates a burden

on him (or his family) or disturbs his peace. Notably, Parrish has not yet served even half of his




4
 The Court appreciates the importance of timely restitution payments but declines to hold Parrish
failure to pay against him, especially considering that Parrish who is partially disabled and
unemployed attempted on two occasions to submit restitution. (See Gov                 Br. 2 n.2.)

                                                 6
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term of supervised release.                                                        [sentencing], the

imposition of [Parrish] s sentence was appropriate in that it was sufficient but not greater than

necessary to achieve the sentencing goals outlined in § 3553(a).    Stiso, 2021 WL 1291648, at *2

(quoting United States v. Ferriero, No. 13-0592, 2020 WL 6701469, at *3 (D.N.J. Nov. 13, 2020)).

IV.     CONCLUSION

        After careful consideration of Parrish       motion and the relevant statutes, the Court

concludes that early termination is unwarranted. The Court thus declines to exercise its discretion

to terminate the remainder of Parrish                              and denies Parrish           The

Court will enter an Order consistent with this Memorandum Opinion.




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                                                             MICHAEL A. SHIPP
                                                             UNITED STATES DISTRICT JUDGE




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